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                                   4                                        UNITED STATES DISTRICT COURT

                                   5                                       NORTHERN DISTRICT OF CALIFORNIA

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                                   7       TECHSHOP, INC.,                                       Case No. 18-cv-01044-HSG
                                   8                          Plaintiff,                         ORDER DENYING DAUBERT
                                                                                                 MOTIONS; DENYING
                                   9                    v.                                       ADMINISTRATIVE MOTIONS TO
                                                                                                 SEAL
                                  10       DAN RASURE, et al.,
                                                                                                 Re: Dkt. No. 111, 123, 124, 126
                                  11                          Defendants.

                                  12                 Currently before the Court are two Daubert motions to exclude expert witnesses, see Dkt.
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                                  13   Nos. 124, 126, and two related administrative motions to file under seal, see Dkt. Nos. 111, 123.1

                                  14   For the following reasons, the Court DENIES all four motions.

                                  15       I.        LEGAL STANDARDS
                                  16            A.      Exclusion of Witnesses
                                  17                 Federal Rule of Evidence 702 allows a qualified expert to testify “in the form of an opinion

                                  18   or otherwise” where:
                                                     (a) the expert’s scientific, technical, or other specialized knowledge
                                  19                 will help the trier of fact to understand the evidence or to determine a
                                                     fact in issue;
                                  20                 (b) the testimony is based on sufficient facts or data;
                                                     (c) the testimony is the product of reliable principles and methods;
                                  21                 and
                                                     (d) the expert has reliably applied the principles and methods to the
                                  22                 facts of the case.
                                  23   Fed. R. Evid. 702. Expert testimony is admissible under Rule 702 if it is both relevant and

                                  24   reliable. See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993). “[R]elevance

                                  25   means that the evidence will assist the trier of fact to understand or determine a fact in issue.”

                                  26   Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007); see also Primiano v. Cook, 598 F.3d 558,

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                                       1
                                  28    The Court finds this matter appropriate for disposition without oral argument and the matter is
                                       deemed submitted. See Civil L.R. 7-1(b).
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                                   1   564 (9th Cir. 2010) (“The requirement that the opinion testimony assist the trier of fact goes

                                   2   primarily to relevance.”) (quotation omitted).

                                   3             Under the reliability requirement, the expert testimony must “ha[ve] a reliable basis in the

                                   4   knowledge and experience of the relevant discipline.” Primiano, 598 F.3d at 565. To ensure

                                   5   reliability, the court must “assess the [expert’s] reasoning or methodology, using as appropriate

                                   6   such criteria as testability, publication in peer reviewed literature, and general acceptance.” Id. at

                                   7   564. These factors are “helpful, not definitive,” and a court has discretion to decide how to test

                                   8   reliability “based on the particular circumstances of the particular case.” Id. (internal quotation

                                   9   marks and footnotes omitted). “When evaluating specialized or technical expert opinion

                                  10   testimony, the relevant reliability concerns may focus upon personal knowledge or experience.”

                                  11   United States v. Sandoval-Mendoza, 472 F.3d 645, 655 (9th Cir. 2006).

                                  12             The inquiry into the admissibility of expert testimony is “a flexible one” where “[s]haky
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                                  13   but admissible evidence is to be attacked by cross examination, contrary evidence, and attention to

                                  14   the burden of proof, not exclusion.” Primiano, 598 F.3d at 564. “When the methodology is

                                  15   sound, and the evidence relied upon sufficiently related to the case at hand, disputes about the

                                  16   degree of relevance or accuracy (above this minimum threshold) may go to the testimony’s

                                  17   weight, but not its admissibility.” i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 852 (Fed. Cir.

                                  18   2010). The burden is on the proponent of the expert testimony to show, by a preponderance of the

                                  19   evidence, that the admissibility requirements are satisfied. Lust v. Merrell Dow Pharm., Inc., 89

                                  20   F.3d 594, 598 (9th Cir. 1996).

                                  21        B.      Motion to Seal
                                  22             Courts generally apply a “compelling reasons” standard when considering motions to seal

                                  23   documents. Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 678 (9th Cir. 2010) (quoting Kamakana

                                  24   v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)). “This standard derives from

                                  25   the common law right ‘to inspect and copy public records and documents, including judicial

                                  26   records and documents.’” Id. (quoting Kamakana, 447 F.3d at 1178). “[A] strong presumption in

                                  27   favor of access is the starting point.” Kamakana, 447 F.3d at 1178 (quotation omitted). To

                                  28   overcome this strong presumption, the party seeking to seal a judicial record attached to a
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                                   1   dispositive motion must “articulate compelling reasons supported by specific factual findings that

                                   2   outweigh the general history of access and the public policies favoring disclosure, such as the

                                   3   public interest in understanding the judicial process” and “significant public events.” Id. at 1178–

                                   4   79 (quotation omitted). “In general, ‘compelling reasons’ sufficient to outweigh the public’s

                                   5   interest in disclosure and justify sealing court records exist when such ‘court files might have

                                   6   become a vehicle for improper purposes,’ such as the use of records to gratify private spite,

                                   7   promote public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179

                                   8   (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)). “The mere fact that the

                                   9   production of records may lead to a litigant’s embarrassment, incrimination, or exposure to further

                                  10   litigation will not, without more, compel the court to seal its records.” Id.

                                  11          The Court must “balance[] the competing interests of the public and the party who seeks to

                                  12   keep certain judicial records secret. After considering these interests, if the court decides to seal
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                                  13   certain judicial records, it must base its decision on a compelling reason and articulate the factual

                                  14   basis for its ruling, without relying on hypothesis or conjecture.” Id. Civil Local Rule 79-5

                                  15   supplements the compelling reasons standard set forth in Kamakana: the party seeking to file a

                                  16   document or portions of it under seal must “establish[] that the document, or portions thereof, are

                                  17   privileged, protectable as a trade secret or otherwise entitled to protection under the law . . . The

                                  18   request must be narrowly tailored to seek sealing only of sealable material.” Civil L.R. 79-5(b).

                                  19          Records attached to nondispositive motions, however, are not subject to the strong

                                  20   presumption of access. See Kamakana, 447 F.3d at 1179. Because such records “are often

                                  21   unrelated, or only tangentially related, to the underlying cause of action,” parties moving to seal

                                  22   must meet the lower “good cause” standard of Rule 26(c) of the Federal Rules of Civil Procedure.

                                  23   Id. at 1179–80 (quotation omitted). This requires only a “particularized showing” that “specific

                                  24   prejudice or harm will result” if the information is disclosed. Phillips v. Gen. Motors Corp., 307

                                  25   F.3d 1206, 1210–11 (9th Cir. 2002); see also Fed. R. Civ. P. 26(c). “Broad allegations of harm,

                                  26   unsubstantiated by specific examples of articulated reasoning” will not suffice. Beckman Indus.,

                                  27   Inc. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992) (quotation omitted).

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                                        II.   DEFENDANTS’ MOTION TO PRECLUDE DR. ERIC MATOLO
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                                              Defendants moved under Federal Rules of Evidence 402 and 403 to preclude Plaintiff’s
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                                       damages expert, Dr. Eric Matolo, from testifying about “(1) the law; (2) Defendants’ alleged
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                                       profits; and (3) his reliance on Plaintiff’s foreign licenses to opine on hypothetical lost licensing
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                                       revenue for its U.S. ‘TECHSHOP’ marks.” See Dkt. No. 124 (“DM”) at 1. Plaintiff opposed, see
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                                       Dkt. No. 141 (“PO”), and Defendants replied, see Dkt. No. 157 (“DR”).
                                   6
                                              First, Defendants contend that Matolo’s report contains “legal principles” and that he
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                                       “should be precluded from instructing the jury on trademark damages law as part of his
                                   8
                                       testimony.” DM at 2. Of course, “an expert witness cannot give an opinion as to her legal
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                                       conclusion, i.e., an opinion on an ultimate issue of law” and “instructing the jury as to the
                                  10
                                       applicable law is the distinct and exclusive province of the court.” Nationwide Transp. Fin. v.
                                  11
                                       Cass Info. Sys., Inc., 523 F.3d 1051, 1058 (9th Cir. 2008) (internal quotation omitted). But
                                  12
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                                       Matolo’s report neither gives an opinion on his legal conclusion nor instructs on the law; rather, it
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                                  13
                                       briefly quotes a statute to review the types of damages available. Accordingly, the Court will not
                                  14
                                       preclude Matolo’s report or testimony on this basis at this time. The Court does not anticipate that
                                  15
                                       Matolo will need to reference this legal background in his testimony.
                                  16
                                              Second, Defendants argue that Matolo should not be allowed to offer his opinion as to
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                                       damages or testify as to Defendants’ revenues. See DM at 3. But these arguments do not support
                                  18
                                       exclusion of Matolo. Instead, Defendants should cross-examine Matolo on his calculations,
                                  19
                                       assumptions, and underlying evidence or present contrary evidence to the jury.
                                  20
                                              Third, Defendants assert that Matolo should be barred from relying on Plaintiff’s foreign
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                                       licensing agreements to calculate lost U.S. licensing revenue. See DM at 4. Again, these are
                                  22
                                       arguments going to the weight rather than the admissibility of Matolo’s testimony and thus do not
                                  23
                                       warrant exclusion.
                                  24
                                              Lastly, Defendants contend that Matolo’s opinions must be precluded under Federal Rule
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                                       of Evidence 403 because the probative value of the proffered evidence “is greatly outweighed by
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                                       the danger of unfair prejudice, confusing the issues, misleading the jury, undue delay, and wasting
                                  27
                                       time.” DM at 5 (quoting Fed. R. Evid. 403). The Court disagrees. The potential weaknesses in
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                                   1   Matolo’s conclusions that Defendants have identified may be explained to the jury but they do not

                                   2   require exclusion under Rule 403.

                                   3               Accordingly, the Court DENIES Defendants’ motion to exclude Matolo’s testimony.

                                   4   III.        PLAINTIFF’S MOTION TO PRECLUDE JEREMIAH JOHNSON AND MARK
                                                   BÜNGER
                                   5
                                                   Plaintiff moved to preclude the testimony of Defendants’ expert witnesses Jeremiah
                                   6
                                       Johnson and Mark Bünger. See Dkt. No. 126 (“PM”). Defendants opposed, see Dkt. No. 144
                                   7
                                       (“DO”), and Plaintiff replied, see Dkt. No. 156 (“PR”).
                                   8
                                               A.       Jeremiah Johnson
                                   9
                                                   Plaintiff moved to exclude Johnson’s expert testimony based on Defendants’ failures to
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                                       make the required disclosures, establish Johnson’s expertise, and provide an expert report. See
                                  11
                                       PM at 5. Defendants respond that Johnson “will not offer expert opinion testimony” because he
                                  12
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                                       was not retained as an expert but instead will be testifying as a fact witness in his role as “the CFO
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                                  13
                                       of TheShop.Build and TheShop.Build San Fran.” DO at 2–3. Because Defendants aver that
                                  14
                                       Johnson will testify as a lay witness, not an expert witness, the Court finds that there is no reason
                                  15
                                       to exclude his testimony under Rule 702 and DENIES Plaintiff’s motion.
                                  16
                                              B.      Mark Bünger
                                  17
                                                   Plaintiff contends that two reports authored by Defendants’ expert Mark Bünger must be
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                                       excluded. See PM at 6–8. According to Plaintiff, Bünger’s opinions are irrelevant, he lacks the
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                                       specialized training and experience to testify competently, and his conclusions are mere
                                  20
                                       speculation. See id. Plaintiff’s arguments do not merit excluding Bünger’s testimony; rather,
                                  21
                                       Plaintiff should challenge the weight of his conclusions through cross-examination and
                                  22
                                       presentation of competing experts and evidence. And, as with all witnesses, Bünger’s testimony is
                                  23
                                       subject to objections at trial, such as lack of personal knowledge or speculation. Accordingly, the
                                  24
                                       Court DENIES Plaintiff’s motion.
                                  25
                                       IV.         ADMINISTRATIVE MOTIONS TO FILE UNDER SEAL
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                                                   Along with their Daubert motion, Defendants filed an administrative motion to file under
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                                       seal certain attached exhibits. See Dkt. No. 123. Defendants also filed an administrative motion
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                                   1   to file under seal in connection with their motion for leave to file a Daubert motion. See Dkt. No.

                                   2   111. Defendants sought to seal these documents “only because Plaintiff has designated the

                                   3   information confidential and/or highly confidential” and indicated that Plaintiff was the party

                                   4   claiming confidentiality. See Dkt. No. 123 at 1. Under Civil Local Rule 79-5(e), Plaintiff was

                                   5   required to file a declaration within four days establishing that the material was sealable. Plaintiff

                                   6   has not done so. However, Plaintiff filed a declaration in response to Defendants’ administrative

                                   7   motion to file under seal in connection with Defendants’ motion for leave to file a Daubert

                                   8   motion, which contained the same underlying documents. See Dkt. No. 118. But this declaration

                                   9   does not support sealing any of the documents attached to either motion. With respect to each

                                  10   document, Plaintiff either explicitly waived the prior claims of confidentiality or failed to

                                  11   articulate a particularized showing of harm to meet even the good cause standard. See id.

                                  12          Accordingly, because Plaintiff has failed to meet the good cause standard for sealing
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                                  13   documents, the Court DENIES the administrative motions to file under seal.

                                  14    V.    CONCLUSION
                                  15          For the foregoing reasons, the Court:

                                  16          1.      DENIES Defendants’ motion to preclude Dr. Matolo’s testimony. See Dkt. No.

                                  17                  124.

                                  18          2.      DENIES Plaintiff’s motion to preclude Mr. Johnson’s and Mr. Bünger’s testimony.

                                  19                  See Dkt. No. 126.

                                  20          3.      DENIES the administrative motions to file under seal. See Dkt. Nos. 111, 123.

                                  21                  Defendants are DIRECTED to file unredacted versions of these documents within

                                  22                  7 days of the date of this order.

                                  23          IT IS SO ORDERED.

                                  24   Dated: 4/24/2019

                                  25                                                      ______________________________________
                                                                                          HAYWOOD S. GILLIAM, JR.
                                  26                                                      United States District Judge
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